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                                Nebraska Court of A ppeals A dvance Sheets
                                     27 Nebraska A ppellate R eports
                                        IN RE INTEREST OF CAYDEN R. ET AL.
                                                Cite as 27 Neb. App. 242



                              In   re I nterest of   Cayden R. et al., children
                                            under   18 years of age.
                                        State   of Nebraska, appellee, v.
                                                Gail R., appellant.
                                                    ___ N.W.2d ___

                                          Filed May 14, 2019.     No. A-18-817.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion indepen-
                    dently of the juvenile court’s findings.
                 2. Child Support: Appeal and Error. The determination of the amount
                    of child support is initially entrusted to the discretion of the trial court,
                    and although on appeal the issue is tried de novo on the record, in the
                    absence of an abuse of discretion, the trial court’s award of child sup-
                    port will be affirmed.
                 3. Child Support: Rules of the Supreme Court. The Nebraska Child
                    Support Guidelines apply in juvenile cases where child support
                    is ordered.

                 Appeal from the Separate Juvenile Court of Lancaster
               County: Linda S. Porter, Judge. Affirmed.

                    Lea Wroblewski, of Legal Aid of Nebraska, for appellant.

                Patrick F. Condon, Lancaster County Attorney, and Anna
               Marx for appellee.

                    Moore, Chief Judge, and R iedmann and Bishop, Judges.

                  Bishop, Judge.
                  Gail R. appeals from the decision of the separate juve-
               nile court of Lancaster County ordering her to pay $50 per
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         Nebraska Court of A ppeals A dvance Sheets
              27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
month in child support for her children living in foster care.
We affirm.
                        BACKGROUND
   Gail is the mother of five children who were removed from
her home in May 2017. The juvenile court granted temporary
custody of the children to the Nebraska Department of Health
and Human Services (DHHS), and they were placed into fos-
ter care.
   The State filed a juvenile petition on May 19, 2017, alleg-
ing that the children were within the meaning of Neb. Rev.
Stat. § 43-247(3)(a) (Reissue 2016) by reason of the faults or
habits of Gail and/or because the children were in a situation
dangerous to life or limb or injurious to their health or mor-
als. The petition contained allegations of domestic violence,
bodily injury to one of the children, and failure to provide a
safe and stable home. The petition also included allegations
against the two fathers of the children.
   The State filed a second amended petition on July 28,
2017, adding an allegation that a hair follicle test for one
or more of the children yielded positive results for illegal
substances and removing the allegation that Gail failed to
provide a safe and stable home. Both the petition and the
second amended petition asked the court to make such orders
as deemed proper, including “ability and liability for child
support” if the children were placed out of the parental home.
Because neither father is at issue in this appeal, we will only
discuss them as necessary.
   On October 10, 2017, one of the children was adjudicated
to be within the meaning of § 43-247(3)(a) by reason of the
faults or habits of that child’s father and/or because that child
was in a situation dangerous to life or limb or injurious to
his health or morals. Although no adjudication order for the
other four children or any adjudication order referencing the
allegations against Gail appears in our record, the parties and
the juvenile court proceeded as if there was one, and no one
argues otherwise in this appeal.
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              27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
   On February 12, 2018, the juvenile court entered an order
referring the juvenile case to a child support referee “for the
purpose of findings and recommendations regarding the estab-
lishment of child support to be paid by . . . Gail” for the sup-
port of her five children in the case.
   A hearing before the child support referee was held on
March 21, 2018. At the hearing, the State informed the referee
of its understanding that there was a court order for Gail to
attend inpatient treatment for substance abuse and that “she’s
simply waiting for a bed.” The State explained, “[B]ecause of
that order, the State is simply asking for a bare minimum order,
$50 a month, to begin April 1st of 2018, with one month of ret-
roactive support representing the month of March.”
   The State’s child support calculation was received into
evidence for informational purposes; the calculation used a
total monthly income of $0 for both Gail and DHHS, and sug-
gested a monthly share of $50 per month for Gail. The State’s
“Cost of Care Affidavit” was received into evidence, and it
states that DHHS was paying $267.68 per day for the out-
of-home care for Gail’s five children. A juvenile court order
from February 12, 2018, was also received into evidence and
states, in part, that Gail was ordered to maintain employment
or other legal means of support for herself and her children,
maintain a safe and stable home environment for herself and
her minor children, maintain contact with DHHS and inform
the case manager of any change to her address or telephone
number within 48 hours of such change, have supervised
visitation with her children a minimum of one time per week,
attend and cooperate with individual and/or group counsel-
ing to address her “history of interpersonal violence” and the
effects on the children who have been exposed to violence in
the home environment, cooperate with short-term residential
treatment for substance abuse and follow all recommenda-
tions, and cooperate with family support services.
   Gail testified that her five children lived with her until May
2017 and that since that time, they have been in two foster
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         Nebraska Court of A ppeals A dvance Sheets
              27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
homes and a “kinship home.” Gail had been ordered by the
juvenile court to attend treatment for substance abuse. She
was currently attending outpatient treatment twice a week, for
1 hour each time, and was waiting for an inpatient room; once
there was an opening in inpatient treatment, Gail believed
treatment would take 6 weeks, but she did not know for sure.
Gail also had court-ordered visitation with the children and
attended a domestic abuse class, “[s]o my time is kind of
spread.” She stated that she started with five visits per week
and was “down to two”; she is required to provide food for her
children during visits and to make sure that her youngest child
has a “diaper change.” She also stated that her domestic abuse
class was once a week for 11⁄2 hours.
   At the time of the hearing, Gail did not have a permanent
residence, but she was “looking into housing.” She affirmed
that she did not have any money for application fees or depos-
its for an apartment or a house. She denied having any other
assets she could use to obtain housing. She did have a vehicle,
but it was not insured.
   Gail was court ordered to maintain employment and was
currently seeking employment. When asked if she believed
she had a duty to support her children, Gail responded, “I do,
but my role is to be the homemaker, the caregiver,” so “I’m
not familiar with the full-time work.” Gail acknowledged
that when the children lived with her, she was a stay-at-home
mother. But she “usually . . . tried to hold a part-time job”
when she could. She worked part time for 6 weeks in 2017,
starting at $11 per hour “and then it bounced up to 14 for
two weeks.” When asked why she was not working at that
job anymore, Gail responded, “Because of the whole — the
court system, actually. I found out that they’d took my kids
two days before I went to work on Monday. So, I had a rough
Monday and it just — it fell apart.” She said she voluntarily
left that job “so I wouldn’t get fired.” Gail has a high school
degree but no further education or specialized training. She
acknowledged that she did not have any disabilities that would
keep her from working.
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              27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
   The child support referee filed a report on March 27, 2018.
The report notes that the parties disagreed about the applica-
bility of the Nebraska Child Support Guidelines to the present
case; however, the referee, citing to a Nebraska statute and
case law, found the guidelines applicable. The referee found
that although Gail had no residence, only a high school degree,
and a limited work history (because she was a stay-at-home
mother prior to the removal of the children from her home),
she had no disabilities that would prevent her from work-
ing, had held employment in the past, was currently seeking
employment, and was court ordered to maintain employment
or other legal means of support for herself and her children.
The referee recommended that Gail’s child support obliga-
tion be set at a minimum level of $50 per month beginning
April 1, finding this would give her incentive to maintain
some level of employment to understand the “‘necessity,
duty, and importance’” of supporting her children, while also
allowing her to comply with her ordered short-term residential
treatment for substance abuse and followup treatment. The
referee did not recommend retroactive support, as requested
by the State, noting that Gail is “struggling financially and
may be entering short term residential treatment soon.”
   Gail filed an exception to the child support referee’s report
on April 11, 2018, claiming that the findings and recom-
mendations (1) were not supported by the evidence, (2) were
contrary to Nebraska law, (3) failed to recognize a rebut-
table presumption applies because the children are placed
in foster care, (4) do not support an order of minimum sup-
port as intended by Neb. Ct. R. § 4-209, and (5) are not in
the best interests of the children. Gail requested a hearing
before a juvenile court judge for a de novo review of the ref-
eree’s report.
   After a hearing on May 16, 2018, during which the bill
of exceptions, including exhibits, from the child support ref-
eree hearing was received into evidence and arguments were
made, the juvenile court filed its order July 25, ordering Gail
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          Nebraska Court of A ppeals A dvance Sheets
               27 Nebraska A ppellate R eports
                IN RE INTEREST OF CAYDEN R. ET AL.
                        Cite as 27 Neb. App. 242
to pay child support of $50 per month for her children, with
the support order commencing April 1.
   Gail appeals.
                ASSIGNMENTS OF ERROR
   Gail assigns, consolidated and restated, that the juve-
nile court erred in (1) applying the Nebraska Child Support
Guidelines to a juvenile court case in which the children
were placed in foster care and (2) ordering her to pay $50 per
month in child support for her children.
                   STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on
the record and reaches a conclusion independently of the juve-
nile court’s findings. In re Interest of Isabel P. et al., 293 Neb.
62, 875 N.W.2d 848 (2016).
   [2] The determination of the amount of child support is
initially entrusted to the discretion of the trial court, and
although on appeal the issue is tried de novo on the record, in
the absence of an abuse of discretion, the trial court’s award
of child support will be affirmed. In re Interest of Crystal T.,
4 Neb. App. 503, 546 N.W.2d 77 (1996).
                          ANALYSIS
   [3] In In re Interest of Tamika S. et al., 3 Neb. App. 624,
529 N.W.2d 147 (1995), this court held that the Nebraska
Child Support Guidelines apply in juvenile cases where child
support is ordered. See In re Interest of Crystal T., supra.
See, also, Neb. Rev. Stat. § 43-290 (Reissue 2016) (when
care or custody of juvenile, as described in various subsec-
tions of § 43-247, including subsection (3), is given by court
to someone other than juvenile’s parent, court may order that
parent to pay reasonable sum that will cover support, study
(medical, psychological, or psychiatric), and treatment of
juvenile; if juvenile has been committed to care and custody
of DHHS, DHHS shall pay costs which are not otherwise paid
by juvenile’s parent). Additionally, Neb. Ct. R. § 4-203 (rev.
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          Nebraska Court of A ppeals A dvance Sheets
               27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
2011) provides that all orders for child support obligations
shall be established in accordance with the provisions of the
guidelines unless the court finds that one or both parties have
produced sufficient evidence to rebut the presumption that
the guidelines should be applied. Section 4-203 also states
that deviations from the guidelines are permissible for juve-
niles placed in foster care. Finally, Neb. Ct. R. § 4-222 (rev.
2011) states that if the child is residing with a third party, the
court “shall order each of the parents to pay to the third party
their respective amounts of child support as determined by
the worksheet.”
   The child support guidelines shall be applied as a rebutta-
ble presumption. § 4-203. As noted above, all orders for child
support obligations shall be established in accordance with
the provisions of the guidelines unless sufficiently rebutted
by the evidence. See id. In this case, DHHS presented a child
support calculation which was received for informational
purposes. In its calculation, DHHS attributed a total monthly
income of $0 to Gail; thus, her monthly support from table
1 (“Income Shares Formula”) of the child support guidelines
was $0. However, § 4-209 states:
         It is recommended that even in very low income cases,
      a minimum support of $50, or 10 percent of the obligor’s
      net income, whichever is greater, per month be set. This
      will help to maintain information on such obligor, such
      as his or her address, employment, etc., and, hopefully,
      encourage such person to understand the necessity, duty,
      and importance of supporting his or her children.
And Neb. Ct. R. § 4-218 (rev. 2019) states:
         A parent’s support, child care, and health care obliga-
      tion shall not reduce his or her net income below the min-
      imum of $1,041 net monthly for one person, or the pov-
      erty guidelines updated annually in the Federal Register
      by the U.S. Department of Health and Human Services
      under authority of 42 U.S.C. § 9902(2), except minimum
      support may be ordered as defined in § 4-209.
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         Nebraska Court of A ppeals A dvance Sheets
              27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
(Emphasis supplied.) In accordance with §§ 4-209 and 4-218,
Gail’s child support obligation was determined to be $50 per
month. She claims that the purpose of the minimum support,
as set forth in § 4-209, is already being met by the juvenile
court order because she is already required to maintain her
information (address and telephone number) and is already
required to maintain employment or a legal source of income,
maintain a safe and stable home, and cooperate with family
services. We fail to see why this should exempt her from a
minimum support order of $50 per month.
   Gail also argues that a deviation from the guidelines was
appropriate in this case. She claims this “is a family in cri-
sis with substance abuse treatment needs, domestic violence
counseling needs, and family support and therapy” and that
“[a]dding a financial obligation that comes with . . . severe and
immediate consequences for noncompliance [e.g., contempt,
possible arrest and incarceration, and interest on a growing
child support arrearage], is an unnecessary stressor and hurdle
for the family.” Brief for appellant at 9-10. Although Gail
claimed at the child support referee hearing that her “time is
kind of spread” because of treatment, a domestic abuse class,
and visitation, her testimony was that she spent only 31⁄2 hours
per week in treatment and a domestic abuse class and that
her visitations had gone from five “down to two” per week.
Thus, it is clear that her time commitments were not so great
that she could not work. And although she testified that she
was unemployed, there was no reason she could not work.
She had a high school diploma and no disabilities that would
keep her from working. In fact, at the time of the children’s
removal from Gail’s home, she had been employed for 6
weeks (and had gone from earning $11 to $14 per hour during
that time), but quit because she “had a rough Monday” after
the children’s removal. Clearly, she is capable of working and
was able to earn $11 to $14 per hour. Based on the evidence
presented, Gail has not rebutted the presumption of the guide-
lines, and we find that no deviation was warranted.
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         Nebraska Court of A ppeals A dvance Sheets
              27 Nebraska A ppellate R eports
               IN RE INTEREST OF CAYDEN R. ET AL.
                       Cite as 27 Neb. App. 242
   Gail also argues that the juvenile court failed to make
findings about whether a child support order of $50 was
appropriate or reasonable. It is true that the juvenile court did
not make specific findings in its order. However, the child
support referee did make specific findings in the referee’s
report, and the juvenile court considered the evidence before
the court, “including the Referee Report.” As noted by the
State in its brief, “In order for [Gail] to meet her $50.00 per
month obligation, earning $11 per hour, she would have to
work less than two hours per week.” Brief for appellee at 11.
“Factoring in the cost of care, the requirements placed upon
[Gail] by the ongoing juvenile court action and her ability to
work, the minimum support obligation of $50.00 per month
is neither unfair nor inequitable. The support obligation is
reasonable.” Id. We agree. DHHS was paying $267.68 per
day for the out-of-home care for Gail’s five children, and
she was only required to pay $50 per month in child support.
The purpose of § 43-290, which allows the juvenile court to
order a parent to pay support for a child committed to the care
and custody of someone other than a parent, is “to promote
parental responsibility and to provide for the most equitable
use and availability of public money.” Contrary to Gail’s
contention, the child support order is in the best interests of
the children, as it will help facilitate Gail’s acceptance of the
financial responsibilities associated with caring for her chil-
dren. Demonstrating the ability to financially contribute to the
care of her children will be a favorable factor in her efforts to
reunite with them.
                        CONCLUSION
  For the reasons stated above, we affirm the decision of the
separate juvenile court ordering Gail to pay $50 per month in
child support for her children living in foster care.
                                                      A ffirmed.
